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ATTORNEY FOR PLAINTIFF
UNITED STATES OF AMERICA


             IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF MONTANA
                     GREAT FALLS DIVISION


 UNITED STATES OF AMERICA,                 CR 19-03-GF-BMM

           Plaintiff,

     vs.                                   SENTENCING
                                           MEMORANDUM

 WILLIE ANDREW SHARP,

           Defendant.




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                                INTRODUCTION

      The defendant pleaded guilty to Wire Fraud. The PSR has calculated a total

offense level of 16 and a criminal history category I. PSR ¶ 88. The resulting

guideline range is 21 to 27 months of imprisonment. PSR ¶ 88. Neither party has

objections to the PSR. The defendant, however, offered clarifications for the Court

to consider. PSR ¶ 23.

      The United States recommends a guideline sentence, with three years of

supervision to follow, along with $174,000 in restitution to the Blackfeet Head

Start. Such a sentence takes into account an important proverb: “With great power

comes great responsibility.” Mr. Sharp was the Chairman of the Blackfeet Tribe.

While acting in that well-respected and important role, Mr. Sharp chose to use his

position to enrich his own pockets, as well as those of his wife. This resulted in

taking money from children on the Blackfeet Indian Reservation who needed it

most. A custodial sentence is not only warranted—it is necessary.

                                   ARGUMENT

      Sentencing Analysis:

      Section 3553(a) of Title 18 of the United States Code contains prefatory

language —“The court shall impose a sentence sufficient, but not greater than

necessary, to comply with the purposes set forth in paragraph (2) of this

subsection.” Those purposes include the need for the sentence to:


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      ●       reflect the seriousness of the offense;

      ●       promote respect for the law;

      ●       provide just punishment for the offense;

      ●       afford adequate deterrence to criminal conduct;

      ●       protect the public from further crimes of the defendant; and,

      ●       provide the defendant with needed educational or vocational training,
              medical care, or other correctional treatment in the most effective
              manner.

      In addition, subsection (1) of § 3553(a) requires the Court to consider the

nature and circumstances of the offense and the history and characteristics of the

defendant; subsection (3) requires the Court to consider the kinds of sentences

available; subsections (4), (5), and (6) require the Court to consider the sentencing

guidelines and policy statements, and to avoid unwarranted sentencing disparity;

and subsection (7) requires the Court to provide restitution to victims.

      Recommendation

      The Head Start Program is not just any government-funded program. It is

designed to help break the cycle of poverty by providing preschool children of

low-income families with a comprehensive early childhood education. The

defendants, including the Chairman of the Blackfeet Tribe, stole from children who

needed services the most. To demonstrate the level of greed, on May 2, 2013, the

Head Start program was informed it would incur budget cuts of 10.58%, which


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represented a total loss of $160,000. Ten days later, select Head Start employees

began inflating overtime, which totaled $232,646.32 in overtime payments. The

overtime scheme spanned a 15-month timeframe. Each time, Mr. Sharp, as the

Chairman of the Tribe, could have stopped the fraud. Each time he instead chose

to steal from children by approving inflated overtime claims for his wife and

others.

      The Chairman of the Tribe represents to the Court that “others in the

government, including the director of the program and at least one member of the

tribal council also represented to him that authority existed to claim the hours.”

PSR ¶ 23. Mr. Sharp’s argument, at best, treads dangerously close to not fully

accepting responsibility. See, e.g., USSG §§3E1.1. At worst, the representation is

incorrect. See, e.g., USSG §3C1.1. The Chairman’s own wife fraudulently

claimed $29,033.25, which she was not entitled to receive. PSR ¶¶ 18, 21. The

Tribal Treasurer refused to sign the fraudulent time cards, but the Chairman

instructed her to do so. PSR ¶ 21. When the Tribal Treasurer refused, the

Chairman signed the cards himself. PSR ¶ 21. It stretches credulity to suggest the

Chairman did not know fraud was afoot when the Tribal Treasurer refused to sign

the time cards.

      A term of incarceration is particularly important in this case. There is no

higher authority who could stop fraud in the Head Start Program than the


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Chairman of the Blackfeet Tribe. Deterrence, including prison, is necessary to

ensure others are not tempted in the future. Leadership roles matter, and

accountability is required when that leadership role is abused for private profit.

         Moreover, when sentencing the defendant, the Court does not sentence on a

clean slate. The Court must ensure disparate sentences do not occur—both out of

fairness to Chairman Sharp and to those sentenced on prior occasions. In order to

aid in that sentencing factor, the United States proposes that the Court consider the

following previously sentenced defendants: 1

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                  Case                           Charge                  Sentence

     United States v. Mikkel Shields,    Burglary of Tribal Police      12 months
           CR 18-03-GF-BMM                       Offices                and 1 day
     United States v. Wilford Harlan     Theft and Embezzlement         12 months
            “Huck” Sunchild,                                            and 1 day
          CR 13-106-GF-BMM
      United States v. Fawn Tadios,      Theft and Embezzlement         12 months
           CR-13-51-GF-BMM                                              and 1 day
     United States v. Shawn Augare,            Bank Fraud               9 months
           CR 13-79-GF-BMM
     United States v. Denise L. Sharp,    Theft and Wire Fraud           9 months
           CR-17-69-GF-BMM
     United States v. Patrick H. Calf     Theft and Wire Fraud           9 months
              Boss Ribs, Jr.,
           CR-17-69-GF-BMM
      United States v. Theresa Marie      Theft and Wire Fraud           8 months
             Calf Boss Ribs,
           CR-17-69-GF-BMM

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 The United States has highlighted in green the defendants who were involved in
the same scheme as Chairman Sharp.
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  United States v. Roseann Robyn               Wire Fraud                8 months
               Kipp,
       CR 18-55-M-DWM
    United States v. Eagleman,             False Statement and           6 months
     CR16-41-GF-BMM; and,                      Structuring
       CR 16-50-GF-BMM
 United States v. Kaycee Lambert,                 Theft                  6 months
       CR 14-68-GF-BMM
   United States v. John Lyon,          Wire Fraud, False Claim,         6 months
       CR 14-57-GF-BMM                         and Theft
 United States v. Kayla Lambert,                 Theft                   5 months
       CR 14-68-GF-BMM
    United States v. Demarce,                  Bank Fraud                 7 days
       CR 15-82-GF-BMM
    United States v. St. Marks,                Bank Fraud                 7 days
       CR 15-82-GF-BMM


      As identified above, the defendant should be sentenced to more than those

who had less power within the tribal power structure at Head Start. He also should

be sentenced to more imprisonment than younger offenders like the Lamberts, as

well as Ms. Demarce and Ms. St. Marks. Moreover, Ms. Eagleman and Mr. Lyon

never obtained any identifiable personal benefit as a result of their fraudulent

activities. Officer Shields burglarized the police station while looking for drugs.

He abused his position of trust in doing so, but he received less personal financial

gain than Mr. Sharp. Finally, “Huck” Sunchild and Ms. Tadios embezzled

comparable amounts and received custodial sentences. The guideline range

adequately reflects the appropriate sentence in this case.

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DATED this 17th day of March, 2020.

                             KURT G. ALME
                             United States Attorney


                             /s/ Ryan G. Weldon
                             RYAN G. WELDON
                             Assistant U.S. Attorney




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                      CERTIFICATE OF COMPLIANCE

      Pursuant to Local Rule, this certifies that the body of the attached

memorandum contains 1,200 words, excluding the caption and certificate of

compliance.

                                       KURT G. ALME
                                       United States Attorney



                                       /s/ Ryan G. Weldon
                                       RYAN G. WELDON
                                       Assistant U.S. Attorney




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